     Case 3:16-cv-00247-DJH-HBB Document 1-2 Filed 04/29/16 Page 1 of 2 PageID #: 27

                                      NWANGUMA, KASHIYA , ET AL VS. TRUMP, DONALD
                                      J , ET AL
                                      JEFFERSON CIRCUIT COURT
                 16-CI-001504         Filed on 03/31/2016 as PERSONAL INJURY with HON. MITCH PERRY
                                      **** NOT AN OFFICIAL COURT RECORD ****


    Parties                                                                                          16-CI-001504
      BAMBERGER, ALVIN as DEFENDANT / RESPONDENT

       Address
         4491 FORK ROAD
         CINCINNATI OH 45247

       Summons
         CIVIL SUMMONS issued on 03/31/2016 served on 04/08/2016
         SERVE ALVIN BAMBERGER SOS EX

      BROUSSEAU, HENRY as PLAINTIFF / PETITIONER
      DONALD J. TRUMP FOR PRESIDENT, INC., as DEFENDANT / RESPONDENT

       Address
         4701 COX ROAD SUITE 285
         GLEN ALLEN VA 23060

       Summons
         CIVIL SUMMONS issued on 03/31/2016 served on 04/11/2016
         CT CORP. SYSTEM SOS EX

      HEIMBACH, MATTHEW JOHN as DEFENDANT / RESPONDENT

       Address
         AKA MATTHEW W ARREN HEIMBACH
         6045 BUDMAR AVENUE
         CINCINNATI OH 45224 2409

       Summons
         CIVIL SUMMONS issued on 04/19/2016 by w ay of CERTIFIED MAIL
         SECRETARY OF STATE, ALIAS SOS EX
         CIVIL SUMMONS issued on 03/31/2016
         SERVE MATTHEW HEIMBACH SOS EX

      NWANGUMA, KASHIY A as PLAINTIFF / PETITIONER
      SHAH, MOLLY as PLAINTIFF / PETITIONER
      TRUMP, DONALD J as DEFENDANT / RESPONDENT

       Address
         C/O THE TRUMP ORGANIZATION
         725 FIFTH AVENUE
         NEW YORK NY 10022

       Summons
         CIVIL SUMMONS issued on 03/31/2016 served on 04/11/2016
         SOS EX

      UNKNOWN DEFENDANT, as DEFENDANT / RESPONDENT

       Summons
         CIVIL SUMMONS issued on 03/31/2016 by w ay of RETURNED TO ATTORNEY /PETITIONER

      HEIMBACH, MATTHEW WARREN as ALSO KNOWN AS
      CANON, DANIEL J, as ATTORNEY FOR PLAINTIFF

       Address
         1730 MEIDINGER TOW ER
         462 SOUTH FOURTH STREET
         LOUISVILLE KY 40202


    Documents                                                                                        16-CI-001504

      COMPLAINT / PETITION filed on 03/31/2016



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     Case 3:16-cv-00247-DJH-HBB Document 1-2 Filed 04/29/16 Page 2 of 2 PageID #: 28
    Images                                                                                     16-CI-001504

      There are no images found for this case.

                                                 **** End of Case Number : 16-CI-001504 ****




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